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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

ENCHANTED GREEN LLC,                           )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   CIVIL CASE NO. 2:23-cv-696-ECM
                                               )
ALABAMA MEDICAL CANNABIS                       )
COMMISSION, et al.,                            )
                                               )
       Defendants.                             )

                                         ORDER

       On December 4, 2023, Plaintiff Enchanted Green LLC (“Enchanted Green”) filed

this action against Defendants Alabama Medical Cannabis Commission (“the

Commission”) and the Commission’s members, William Saliski, Jr., M.D.; Sam

Blakemore; Dwight Gamble; Angela Martin, M.D.; Eric Jensen; Loree Skelton; Rex

Vaughn; Charles Price; Taylor Hatchett; James Harwell; Jerzy Szaflarski, M.D.; Dion

Robinson; and Jimmie H. Harvey, M.D. (collectively, “the Defendants”), concerning the

Commission’s alleged issuance and subsequent revocation of a license to process medical

cannabis to Enchanted Green. (Doc. 1).             Enchanted Green brings three claims:

(1) deprivation of property rights without due process of law (Count One); (2) violations

of the Alabama Open Meetings Act (Count Two); and (3) violations of Enchanted Green’s

constitutional rights pursuant to 42 U.S.C. § 1983, including, but not limited to, its right to

due process (Count Three). (Id. at 27–32).
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       Now pending before the Court is Enchanted Green’s emergency motion for

temporary restraining order and preliminary injunctive relief (doc. 2) filed on December 4,

2023. Enchanted Greens seeks a temporary restraining order enjoining the Commission

“from moving forward with the licensing of the putative winning applications” until

Enchanted Green’s due process claims can be heard. (Id. at 16).

       A temporary restraining order may issue only where the moving party demonstrates

(1) that there is a substantial likelihood of success on the merits, (2) that the temporary

restraining order is necessary to prevent irreparable injury, (3) that the threatened injury

outweighs the harm the temporary restraining order would cause to the nonmoving party,

and (4) that the temporary restraining order would not be adverse to the public interest.

Parker v. State Bd. of Pardons & Paroles, 275 F.3d 1032, 1034–35 (11th Cir. 2001) (per

curiam).

       At this stage, Enchanted Green has not shown that there is a substantial likelihood

of success on the merits. See id. Consequently, Enchanted Green has failed to show that it

is entitled to a temporary restraining order.

       Accordingly, upon consideration of the motion, and for good cause, it is

       ORDERED as follows:

       1.     Enchanted Green’s motion (doc. 2) is DENIED to the extent that it requests

a temporary restraining order;

       2.     Enchanted Green’s motion for preliminary injunctive relief (doc. 2) is SET

for an evidentiary hearing on December 13, 2023 at 10:30 a.m. CT in Courtroom 2A,

Frank M. Johnson Jr. Federal Building and United States Courthouse, One Church Street,

                                                2
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Montgomery, Alabama. The Clerk of the Court is DIRECTED to provide a court reporter

for this proceeding;

       3.     The Defendants shall file a response to Enchanted Green’s motion on or

before 12:00 p.m. CT on December 11, 2023.

       The Clerk of the Court is DIRECTED to serve a copy of this Order by electronic

mail on Justin C. Aday, William H. Webster, and Mark D. Wilkerson to the email addresses

provided in the memorandum brief’s Certificate of Service (doc. 3 at 18); and by overnight

mail to the physical addresses provided in the proposed summonses (doc. 8).

       DONE this 4th day of December, 2023.


                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE




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